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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA ex rel.,
STEPHEN A. KRAHLING and JOAN A.                  Civil Action No. 10-4374 (CDJ)
WLOCHOWSKI,
                 Plaintiffs,
           v.
MERCK & CO., INC.,
                 Defendant.


                                           ORDER

       AND NOW, this      5th   day of February, 2016, upon consideration of Relator’s Letter

Motion for a Protective Order (ECF No. 89), and the parties’ responses thereto (ECF Nos. 90,

94), IT IS HEREBY ORDERED that:

       1) Relator’s Motion is DENIED, as outlined in the accompanying memorandum

           opinion.

       2) Out of utmost caution, and because Relator’s motion and the parties’ responses are all

           filed under seal, the Court files its Memorandum under seal.

       3) After reviewing the Court’s Memorandum, the parties are ORDERED to SHOW

           CAUSE by February 16, 2016 why the Court’s Memorandum should remain under

           seal. Should the parties fail to show cause, the Court will unseal the Memorandum on

           February 17, 2016.



                                            BY THE COURT:



                                              /s/ Lynne A. Sitarski        .
                                            LYNNE A. SITARSKI
                                            UNITED STATES MAGISTRATE JUDGE
